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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                               §
                                                     §      Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                           §      Chapter 11 (Subchapter V)
                                                     §
         Debtor.                                     §

     DEBTOR’S NOTICE OF CASH COLLATERAL BUDGET FOR MARCH 2024

         FREE SPEECH SYSTEMS, LLC. (“FSS” or “Debtor”) files this notice in accordance with

the Seventeenth Interim Order Authorizing Debtor’s Use of Cash Collateral and Providing Partial

Adequate Protection [ECF #772] where the Court ordered FSS to file a notice with an attached

budget on or before seven days prior to the end of each month.

         FSS’ cash collateral budget for March 2024 is attached to this Notice as Exhibit A (the

“Budget”). The Budget reflects the use of cash collateral consistent with the payment of reasonable

and necessary operating expenses of FSS throughout the pendency of this case.

         Respectfully submitted.

                                              LAW OFFICES OF RAY BATTAGLIA, PLLC


                                              /S/ RAYMOND W. BATTAGLIA
                                              Raymond W. Battaglia
                                              State Bar No. 01918055
                                              rbattaglialaw@outlook.com
                                              66 Granburg Circle
                                              San Antonio, Texas 78218
                                              Tel. (210) 601-9405

                                              Counsel to the Debtor and Debtor-In-Possession




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                              CERTIFICATE OF SERVICE
     I hereby certify that a true and correct copy of the foregoing document was served by the
Court’s CM/ECF system on all parties registered to receive such service on the date of filing,

                                          /s/Raymond W. Battaglia
                                          Raymond W. Battaglia




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                                                    3/1/2024-           3/3/2024-           3/10/2024-          3/17/2024-          3/24/2024-
                                                                                                                                                                                                                          NOTES
                                                    3/2/2024            3/9/2024            3/16/2024           3/23/2024           3/31/2024             Total
                                  Week Number           10                  11                  12                  13                  14
Income
Product Sales (Net of 7.0% Merchant Fee)        $    146,567.14     $    512,985.00     $    540,250.00     $    526,100.00     $    601,651.43     $   2,327,553.57     Net of 5.5% CC Merchant fees. Includes Shipping and Sales Tax, excludes any PQPR / Platinum
New Product Initiative                                 9,650.00           37,150.00           35,292.50           37,057.13           41,714.14           160,863.77     Drop Ship vendor for Meals Ready to Eat and Guest Fees, gross sales
Point of Sales Revenue                                 8,000.00           32,615.00           29,750.00           30,175.00           35,253.33           135,793.33     Fulfillment Vendor Product Sales
Platinum / PQPR Commission                            16,350.00           57,500.00           48,875.00           62,500.00           64,333.33           249,558.33     Net of 50% payment to PQPR
Donations                                                400.00            1,000.00              750.00            1,000.00            1,000.00             4,150.00
Total Income                                         180,967.14          641,250.00          654,917.50          656,832.13          743,952.24         2,877,919.01

Selling & Product Costs
Inventory Purchases                                          -           (250,000.00)                -           (250,000.00)                -            (500,000.00)   Inventory deposits and purchases from numerous Vendors
New Product Initiative                                 (7,237.50)         (27,862.50)         (26,469.38)         (27,792.84)         (31,285.61)         (120,647.83)   Payments to Meal Ready to Eat Vendor
Point of Sale Product Cost                             (4,800.00)         (19,569.00)         (17,850.00)         (18,105.00)         (21,152.00)          (81,476.00)   Fulfillment Vendor product costs
Fulfillment Services                                  (19,786.56)         (69,252.98)         (72,933.75)         (71,023.50)         (81,222.94)         (314,219.73)   Fulfillment Vendor shipping and handling costs
Texas Sales Tax (20% of Sales @ 6.25%)                 (1,832.09)          (6,412.31)          (6,753.13)          (6,576.25)          (7,520.64)          (29,094.42)
Total Cost of Goods Sold                              (33,656.15)        (373,096.79)        (124,006.25)        (373,497.59)        (141,181.19)       (1,045,437.98)


Operating Expenses
Advertising & Promotion
Social Media Advertising                                     -             (1,250.00)          (1,250.00)          (1,250.00)          (1,250.00)           (5,000.00)   Advertising Campaign on X
Radio Show Advertising                                       -                   -                   -                   -                   -                    -
Total Advertising & Promotion                                -             (1,250.00)          (1,250.00)          (1,250.00)          (1,250.00)           (5,000.00)

Computer/IT/IP Expense
Internet & TV services                                       -             (1,750.00)          (3,250.00)          (3,250.00)          (2,500.00)         (10,750.00)
Server Hosting / Cloud Service / Ecomm                       -            (90,000.00)         (50,000.00)         (50,000.00)         (15,000.00)        (205,000.00)
Satellite Service                                            -           (190,000.00)         (35,000.00)         (15,000.00)                -           (240,000.00)
Telecommunications                                           -             (2,000.00)          (7,000.00)          (5,000.00)         (18,500.00)         (32,500.00)
Image License, Software & Other                              -            (10,000.00)         (10,000.00)          (7,500.00)         (10,000.00)         (37,500.00)
Total Computer/IT/IP Expense                                 -           (293,750.00)        (105,250.00)         (80,750.00)         (46,000.00)        (525,750.00)

Office & Administrative Expense
Bank Fees & Service Charges                                  -               (200.00)            (200.00)            (200.00)            (100.00)            (700.00)
Insurance                                                    -            (15,000.00)                -                   -                   -            (15,000.00)    Liability, auto, property and workers comp
Rent                                                         -            (57,440.00)                -                   -                   -            (57,440.00)
Utilites                                                     -             (5,000.00)            (500.00)            (500.00)            (500.00)          (6,500.00)
Janitorial                                                   -             (3,500.00)                -                   -                   -             (3,500.00)    Monthly Cleaning fees
Office Security                                              -            (12,500.00)         (12,500.00)         (12,500.00)         (12,500.00)         (50,000.00)
Repair & Maintenance                                         -                   -             (5,000.00)                -                   -             (5,000.00)
Supplies/Printing/Copy                                       -             (2,000.00)          (2,500.00)          (2,000.00)          (1,000.00)          (7,500.00)    Includes Konica Minolta copier lease
Business Meals                                               -                   -             (1,000.00)                -               (500.00)          (1,500.00)
Total Office & Administrative Expense                        -            (95,640.00)         (21,700.00)         (15,200.00)         (14,600.00)        (147,140.00)

Personnel Expenses
Salaries & Wages & Benefits                                  -           (167,500.00)                -           (167,500.00)                -           (335,000.00)
Payroll Tax                                                  -            (15,400.00)                -            (15,400.00)                -            (30,800.00)
Contract Employees                                           -            (14,500.00)         (25,000.00)         (12,450.00)          (5,000.00)         (56,950.00)
Consulting Services                                          -             (5,000.00)          (3,850.00)          (5,000.00)          (3,850.00)         (17,700.00)    HR, Tax and Bookeeping Fees
Alex Jones Salary                                            -            (25,000.00)                -            (25,000.00)                -            (50,000.00)    Per the 11/27 Hearing, Jones Salary will be $25,000 per pay period
Total Personnel Expenses                                     -           (227,400.00)         (28,850.00)        (225,350.00)          (8,850.00)        (490,450.00)

Travel
Mileage/Parking/Tolls                                        -               (100.00)            (100.00)            (100.00)            (100.00)            (400.00)
Special Event Travel & Security                              -                   -                   -             (7,500.00)                -             (7,500.00)    Confirmation hearing travel expenses
Special Event Travel & Security                              -            (11,500.00)                -                   -                   -            (11,500.00)    Speaking engagement in Las Vegas, NV
Travel / Lodging                                             -                   -                   -                   -                   -                   -
Vehicle Rental / Leases                                  (500.00)            (500.00)            (500.00)            (500.00)            (500.00)          (2,500.00)
Total Travel Expenses                                    (500.00)         (12,100.00)            (600.00)          (8,100.00)            (600.00)         (21,900.00)

Total Operating Expenses                                 (500.00)        (630,140.00)        (157,650.00)        (330,650.00)         (71,300.00)       (1,190,240.00)


Non-Operating Expenses
RV Repairs and Maintenance                                   -                   -            (10,000.00)                -                   -            (10,000.00)    Mobile location broadcasts
Adequate Protection Payment to SEC Bank                      -             (2,750.00)                -                   -                   -             (2,750.00)
Total Other Expenses                                         -             (2,750.00)         (10,000.00)                -                   -            (12,750.00)

Professional Fees
CRO Fees                                                     -                   -                   -                   -            (50,000.00)         (50,000.00)
CRO Expenses                                                 -                   -                   -                   -                   -                   -
Trustee Fees                                                 -                   -                   -            (35,000.00)                -            (35,000.00)
Trustee Counsel                                              -                   -                   -            (35,000.00)                -            (35,000.00)
Legal Fees - Reynal                                          -            (45,000.00)                -                                       -            (45,000.00)    After credit for interim compensation previosly paid and draw down of retainer
Legal Fees - Additional Counsel                              -            (50,000.00)                -                   -                   -            (50,000.00)    Retainer for Hap May
Legal Fees - Texas Appellete Counsel                         -                   -                   -            (35,000.00)                -            (35,000.00)
Sales Tax Preparation Fees                                   -                   -            (50,000.00)                -                   -            (50,000.00)    Analysis of FSS Sales Tax Compliance status
Data Discovery                                               -                   -                   -                   -                   -                   -
Ray Battaglia                                                -                   -                   -            (40,000.00)                -            (40,000.00)
Total Professional Fees                                      -            (95,000.00)         (50,000.00)        (145,000.00)         (50,000.00)        (340,000.00)                                                                                        EXHIBIT
Total Cash Flow                                      146,810.99          (459,736.79)        313,261.25          (192,315.47)        481,471.05           289,491.03




                                                                                                                                                                                                                       PQPR-2                                          A
Ending Cash                                         2,846,810.99        2,387,074.20        2,700,335.45        2,508,019.98        2,989,491.03
